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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

     In re:
              GREENHUT, Andrew                        Chapter 13
              SS# xxx-xx-2515                         Case No. 19-10782-JNF
                    Debtor


        TRUSTEE’S OBJECTION TO CONFIRMATION OF DEBTOR’S AMENDED
                             CHAPTER 13 PLAN

          Now comes Carolyn Bankowski, Standing Chapter 13 Trustee (“Trustee”), and
respectfully objects to confirmation of the Debtor’s Amended Chapter 13 Plan, (the “Plan”), and
for reasons says as follows:
1.        On May 1, 2019, the Trustee convened the §341 meeting of creditors at which the Debtor
          was present with counsel. The Trustee cannot recommend the Plan for confirmation.
2.        In Part 5.A, the Debtor lists general unsecured claims in the sum of $385,787.24,
          however under the Total Nonpriority Unsecured Claims the Debtor lists $387,343.93.
          The Plan is inconsistent.


          WHEREFORE, the Trustee requests that the Court sustain the objection to confirmation
and grant such other relief as is proper.

Dated: May 6, 2019
                                             Respectfully submitted,
                                             By: /s/ Carolyn Bankowski
                                             Carolyn Bankowski, BBO#631056
                                             Patricia A. Remer, BBO#639594
                                             Standing Chapter 13 Trustee
                                             Office of the Chapter 13 Trustee
                                             PO Box 8250
                                             Boston, MA 02114
                                             (617) 723-1313
                                             13trustee@ch13boston.com
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                 Debtor


                                     Certificate of Service

        The undersigned hereby certifies that on May 6, 2019, a copy of the Trustee’s Objection
to Debtors’ Chapter 13 Plan was served via first class mail, postage prepaid or by electronic
notice on the debtors and debtors counsel at the addresses set forth below.

       Andrew Greenhut
       21 Kingston Street
       Somerville, MA 02144

       Richard N. Gottlieb
       Law Offices of Richard N. Gottlieb
       Ten Tremont Street
       Suite 11, 3rd Floor
       Boston, MA 02108



                                                    /s/ Carolyn Bankowski
